IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANET MONGE, :
Plaintiff : CIVIL ACTION
v.

UNIVERSITY OF PENNSYLVANIA ef al, :
Defendants : No. 22-2942

ORDER

And now this ’ day of March, 2023, upon consideration of the American
Anthropological Association’s Motion to Dismiss Dr. Janet Monge’s Amended Complaint (Doc.
No, 35), Dr. Monge’s Response in Opposition to the American Anthropological Association’s
Motion to Dismiss (Dec. No. 73), the American Anthropological Association’s Reply Brief in
Support of Their Motion to Dismiss (Doc. No. 94), and Dr. Monge’s Supplemental Memorandum
in Support of Her Response to the Defendants’ Motions to Dismiss (Doc. No. 102), it is hereby
ORDERED as follows, for the reasons set forth in the accompanying memorandum:

1. The American Anthropological Assoctation’s Motion to Dismiss (Doc, No, 35) is
GRANTED WITH PREJUDICE as to the defamation and false light causes of action
alleged in Dr. Monge’s amended complaint.

2. The American Anthropological Association’s Motion to Dismiss (Doc. No. 35) is
GRANTED WITHOUT PREJUDICE as to the defamation by implication and civil

aiding and abetting causes of action alleged in Dr. Monge’s amended complaint.

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GENE 2K. PRATTER
NITED STATES DISTRICT JUDGE

    

 

 
